IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

WESTERN DIVISION
UNITED STATES OF AMERICA, - ) CASE NO.:
Plaintiff, 221 CV ee
v } JUDGE 7GUHARY
SHAFFER PHARMACY, INC.; THOMAS DECLARATION OF MEREDITH
TADSEN; and WILSON BUNTON, ) CARTER, DIVERSION INVESTIGATOR
Defendants. FILED TEMPORARILY UNDER SEAL

 

I, Meredith Carter, hereby declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury
under the laws of the United States of America that the following is true and correct.

1. ‘Iam a Diversion Investigator (“DI”) with the United States Department of Justice
Drug Enforcement Administration (“DEA”). I have been employed by the DEA as a DI since
November 2012.

2. I attended Basic Diversion Investigator training at the DEA Academy in
Quantico, Virginia from August through November 2012. This was a thirteen-week course that
teaches diversion investigators the body of federal law with which registrants under the

Controlled Substances Act, 2! U.S.C. §§ 801, et seq. (the “CSA”), must comply. The course also
trains diversion investigators in the practices and techniques DEA uses to determine whether
registrants are in compliance with the CSA and the regulations promulgated under the CSA.

3. I have attended Advanced Diversion Investigator Training at the DEA Academy
in Quantico, Virginia in July, 2019, as well as other professional development seminars.

4. Among my duties, I investigate violations of Title 21 United States Code, the
Controlled Substances Act, Chapter 13, Subchapters I and II, Sections 801 through 971, and Title
21 Code of Federal Regulations, Chapter II, Part 1300 through 1321. I have done these types of
civil and criminal investigations in the Regulatory Groups within DEA offices in Washington,
DC; and Cleveland, Ohio.

5. The purpose of this declaration is to establish scheduling under the CSA and the
prescription drug status under the federal Food and Drug Cosmetic Act (“FDCA”), 21 U.S.C.

§ 301 et. seq., of certain drugs relevant to this case, as well as certain facts related to this
investigation. -

6. In September 2019, I joined the ongoing investigation of Shaffer Pharmacy. This
is a joint investigation with the Federal Bureau of Investigation, United States Department of
Health and Human Services Office of Inspector General, State of Ohio Board of Pharmacy, Ohio
Bureau of Workers’ Compensation, and Ohio Attorney General’s Medicaid Fraud Control Unit.

7. In January 2020, I received an analysis of Shaffer Pharmacy’s controlled
substance purchasing history from the DEA Targeting & Special Projects Section, Reports
Analysis Unit. This analysis compared Shaffer Pharmacy’s purchases of reportable controlled
substances to other pharmacies in its county, as well as national, state, county, zip and city

averages.
8. In March 2020, I requested and received Shaffer Pharmacy’s self-reported
dispensing records from the Ohio Automated Rx Reporting System (OARRS). I received Shaffer
Pharmacy’s self-reported dispensing records for the period of January 1, 2015 through February
20, 2020.

9, In April 2020, I issued an administrative subpoena to Rx30, aka Transaction Data
Systems, Inc., an electronic pharmacy management system used by Shaffer Pharmacy. In
response to the subpoena, Rx30 provided backed-up records from Shaffer Pharmacy stored on
Rx30 remote servers. Rx30 provided records for prescriptions filled by Shaffer Pharmacy
between January 1, 2016 and April 1, 2020. Shaffer Pharmacy also maintains paper
prescriptions and sign-in logs at their registered location.

10. In the following months, using Excel pivot tables, online tools, and other
investigative strategies, I reviewed the records of Shaffer Pharmacy’s self-reported dispensing
and the Rx30 data. I found evidence of “Red Flags,” or indications of potential diversion.

Scheduling of Drugs Under the Controlled Substances Act

11. The CSA provides for the regulation of controlled substances. 21 U.S.C. § 801.
Every controlled substance is categorized onto one of five schedules. 21 U.S.C. § 812. Each
schedule groups drugs together based on their accepted medical uses, the potential for abuse, and
their psychological and physical effects on the body. 21 U.S.C. § 811. Substances are scheduled
according to the criteria set forth in 21 U.S.C. §§ 811-812.

12. Schedule I drugs are defined as drugs with no currently accepted medical use and
a high potential for abuse, such as heroin, lysergic acid diethylamide (LSD), and peyote. 21

USS.C. § 812(6)(1).
13. Schedule II drugs have a high potential for abuse, with use potentially leading to
severe psychological dependence. 21 U.S.C. § 812(b)(2). These drugs are also considered
dangerous. Some examples are hydrocodone, cocaine, oxycodone, and fentanyl.

14. Schedule III drugs have moderate potential for physical and psychological
dependence. 21 U.S.C. § 812(b)(3). Examples include Tylenol #3/Tylenol with Codeine,
ketamine, dronabinol, and anabolic steroids.

15. Schedule IV drugs have a lower potential for abuse and a lower risk of
dependence than schedule I-III controlled substances. 21 U.S.C. § 812(b)(4). This category
includes the majority of benzodiazepines such as Xanax, as well as Soma, Ambien, and
tramadol.

16. The CSA authorizes the Attorney General to add a drug to a schedule or transfer a
drug from one schedule to another by rulemaking. 21 U.S.C. § 811(a)(1). The Attorney General
has delegated scheduling authority under 21 U.S.C. § 811 to the Administrator of the DEA. 28
C.F.R. § 0.100. The final rule providing for the scheduling of a drug is published in the Federal
Register.

Prescription Drug Status Under the Federal Food, Drug, and Cosmetic Act

17. Under the FDCA, certain drugs are limited to use only under a licensed healthcare
practitioner’s supervision and may be dispensed only upon a practitioner’s prescription. See 21
U.S.C. § 353(b).

18. The prescription status of a particular drug may be determined by consulting the
U.S. Food and Drug Administration’s (FDA) publication: Approved Drug Products with

Therapeutic Equivalence Evaluations (commonly referred to as “The Orange Book’) (40th ed. -
2020), available for download at
https://www.fda.gov/downloads/Drugs/DevelopmentApprovalProcess/UCM071436.pdf.

19. The Orange Book identifies drug products approved by the FDA under section
505 of the Federal Food, Drug, and Cosmetic Act (FDCA). The Orange Book lists approved drug
products alphabetically by active ingredient. The lists relevant to this declaration are:
Prescription Drug Products (section 3.0), Over-the-Counter Drug Products (section 4.0), and
Discontinued Drug Products (section 6.0). The Orange Book, Contents. Each drug is
accompanied by product identification information, including its active ingredient(s) and product
name(s). /d., 2-1.

20. | My training and professional experience as a DI has given me the understanding
and knowledge needed to know how to determine the prescription status of non-controlled
substances and controlled substances. I have also been trained to identify a controlled
substance’s schedule pursuant to the Code of Federal Regulations (“C.F.R.”). 21 C.F.R.

§§ 1308.11-15.

21. In order to determine the prescription status of the drugs underlying Counts I and
II of the Complaint in this matter, I referenced The Orange Book’s Drug Product Lists. I
searched by alphabetical order the active ingredient under which the drug product information
was listed, using the Product Name Index if necessary. I then found the active ingredient in the
applicable drug product list and identified whether the drug product is prescription, over the
counter, or discontinued.

22. Once I determined the prescription status of the specific drugs underlying Counts

I and II of the Complaint in this matter, I then determined whether the drugs containing
controlled substances as active ingredients were classified as schedule I, II, III, or IV, under the
C.F.R. 21 C.F.R. §§ 1308.11-15.

| 23. Attached to this declaration as Exhibit A is a chart summarizing the prescription
drugs underlying Counts I and II of the Complaint in this matter, the active controlled substance
ingredient, the drug’s schedule category under the C.F.R., common brand names for the drug, the
citation to the C.F.R. that indicates the drug’s schedule, and a citation to The Orange Book
section and page. Exhibit A is a true and accurate reflection of my review of the specific drugs
underlying Counts I and II of the Complaint in this matter.

The Investigation of Shaffer Pharmacy

24. Shaffer Pharmacy is a retail pharmacy in Toledo, Ohio. Shaffer Pharmacy was
founded in 1961 and moved to its current location at 3900 Sunforest Court, Toledo, Ohio 43623
in 1979.

25. | Thomas Tadsen has owned and operated Shaffer Pharmacy for over 40 years.
Tadsen is a Registered Pharmacist (RPh). Defendant Thomas Tadsen is the owner-operator and
pharmacist in charge of Shaffer Pharmacy. Thomas Tadsen was first licensed as a pharmacist in
Ohio in or around August 1977. He has owned Shaffer Pharmacy since 1979.

26. Defendant Wilson Bunton is a pharmacist at Shaffer Pharmacy. Wilson Bunton
was first licensed as a pharmacist in Ohio in or around June 2016. He has worked at Shaffer
Pharmacy since around October 2017.

27. A review of the Employer Resource Information Center from the Ohio
Department of Job and Family Services indicates that from 2017 through 2020, Shaffer
Pharmacy has had a total of eleven full and part-time employees during that time, including

Thomas Tadsen.
28. Since January 1, 1979, Shaffer Pharmacy has had a pharmacy license in the state
of Ohio. A true and correct copy of the license, 020157850 is attached as Exhibit B to this
declaration.

29. The Shaffer Pharmacy DEA registration number is AS8550243. A true and
correct copy of the DEA registration is attached as Exhibit C to this declaration.

30. | The DEA requires certain registrants, such as distributors of controlled
substances, to report records of distributions of schedule II and schedule III controlled substances
to a database called the Automated Reports & Consolidated Orders System, or “ARCOS.”

31. Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule II opioid

controlled substance oxycodone:

 

01/01/2014 — 12/31/2014 671,200 dosage units

 

01/01/2015 — 12/31/2015 829,400 dosage units

 

01/01/2016 — 12/31/2016 817,220 dosage units

 

01/01/2017 — 12/31/2017 791,800 dosage units

 

01/01/2018 — 12/31/2018 761,700 dosage units

 

 

01/01/2019 — 09/31/2019 567,500 dosage units

 

 

 
32. Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule II opioid

controlled substance hydrocodone:

 

01/01/2014 — 12/31/2014 109,300 dosage units

 

01/01/2015 — 12/31/2015 132,060 dosage units

 

01/01/2016 — 12/31/2016 121,540 dosage units

 

01/01/2017 — 12/31/2017 127,300 dosage units

 

01/01/2018 — 12/31/2018 137,190 dosage units

 

 

 

 

01/01/2019 — 09/31/2019 106,330 dosage units

 

33. Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule I opioid

controlled substance oxymorphone:

 

01/01/2014 — 12/31/2014 | 45,440 dosage units

 

01/01/2015 — 12/31/2015 | 48,380 dosage units

 

01/01/2016 — 12/31/2016 : | 46,440 dosage units

 

01/01/2017 — 12/31/2017 | 37,720 dosage units

 

01/01/2018 — 12/31/2018 | 24,600 dosage units

 

 

01/01/2019 — 09/31/2019 "| 10,800 dosage units

 

 

 
34. Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule III opioid

controlled substance buprenorphine:

 

01/01/2014 — 12/31/2014 | 37,832 dosage units

 

01/01/2015 — 12/31/2015 | 42,334 dosage units

 

01/01/2016 — 12/31/2016 | 39,112 dosage units

 

01/01/2017 — 12/31/2017 | 30,646 dosage units

 

01/01/2018 — 12/31/2018 | 39,260 dosage units

 

 

 

 

01/01/2019 — 09/31/2019 | 37,086 dosage units

 

35. Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule II opioid

controlled substance fentanyl (minus the tradename Subsys):

 

01/01/2014 — 12/31/2014 =| 10,335 dosage units

 

01/01/2015 — 12/31/2015 | 9,882 dosage units

 

01/01/2016 — 12/31/2016 | 8,222 dosage units

 

01/01/2017 — 12/31/2017 | 9,338 dosage units

 

01/01/2018 — 12/31/2018 | 7,470 dosage units

 

 

 

 

01/01/2019 — 09/31/2019 | 5,335 dosage units

 
36. | Ananalysis of ARCOS data for the period of January 1, 2014 to September 30,
2019, revealed that Shaffer Pharmacy purchased the following amounts of the schedule II opioid

controlled substance Subsys:

 

01/01/2014 — 12/31/2014 2.39 grams

 

01/01/2015 — 12/31/2015 55.89 grams

 

01/01/2016 — 12/31/2016 66.67 grams

 

01/01/2017 — 12/31/2017 21.69 grams

 

01/01/2018 — 12/31/2018 | 13.95 grams

 

 

 

 

 

01/01/2019 — 09/31/2019 4.18 grams

37. Based ona review of Shaffer Pharmacy’s pharmacy management system, Rx30,
which indicates what type of insurance, if any, patients used to pay for their prescription drugs, I
know that Shaffer Pharmacy’s patient mix includes Medicare, Medicaid, Worker’s
Compensation, and private insurance patients.

38.  lestimate Shaffer Pharmacy’s total current patient population at approximately
2,300 unique patients.

39. Shaffer Pharmacy’s patients receive a combination of schedule IT, schedule III,
schedule IV, and schedule V controlled substance prescriptions, as well as non-controlled
prescriptions.

40. A review of records from Shaffer Pharmacy’s pharmacy management system,
Rx30, for prescriptions filled between January 1, 2016 and April 1, 2020 indicates that Shaffer
Pharmacy filled 227,879 prescriptions during that timeframe (including refills). In total, this
record shows that 65.5% of prescriptions filled were for non-controlled drugs and 34.5% were
for controlled substances. 23.6% of prescriptions filled by Shaffer Pharmacy were schedule II

controlled substances, 2.7% were schedule III controlled substances, 6.6% were schedule IV

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controlled substances, and 1.6% were schedule V controlled substances. It is common for
legitimate pharmacies to have a ratio of approximately 20% of controlled to 80% non-controlled
substances. Higher ratios of controlled substances can be reasonable for specialty pharmacies
(such as those servicing hospice patients), but Shaffer Pharmacy does not fall into that category.
Shaffer Pharmacy’s ratio of controlled substances to non-controls dispensed is an outlier and far
exceeds the average: Shaffer Pharmacy dispenses a higher proportion of schedule II controlled
substances than most pharmacies total proportion of controlled substances.

41. A breakdown of the prescriptions dispensed by Shaffer Pharmacy per Rx30

pharmacy management system data for the period of January 1, 2016 to April 1, 2020, is as

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

follows:
Year 2016
Non-controlled 29797 62.77%
Schedule II 12195 25.69%
Schedule III 1229 2.59%
Schedule IV 3636 7.66%
Schedule V 613 1.29%
Total RX 47470 100.00%
Year 2017
Non-controlled 33983 62.55%
Schedule II 14225 26.18%
Schedule III 1528 2.81%
Schedule IV 3788 6.97%
Schedule V 808 1.49%
Total RX 54332 100.00%

 

 

 

 

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‘Year 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Non-controlled 37794 65.90%

Schedule II 13564 23.65%

Schedule III 1479 2.58%

Schedule [V 3598 6.27%

Schedule V 918 1.60%

Total RX 57353 100.00%

Year 2019

Non-controlled 38568 67.55%

Schedule II 12492 21.88%

Schedule III 1651 2.89%

Schedule IV 3394 5.94%

Schedule V 990 1.73%

Total RX 57095 100.00%
Jan - Apr 2020

Non-controlled 9175 78.90%

Schedule II 1245 10.71%

Schedule III 303 3.04%

Schedule IV 647 5.56%

Schedule V 209 1.80%

Total RX 11629 100.00%

 

 

 

42. Shaffer Pharmacy’s self-reported dispensing and the records entered into the
Rx30 data management system revealed a slight divergence, indicating possible errors in
reporting or data entry at the pharmacy, or post-reporting changes to the pharmacy management
record. These differences could be caused by old Rx30 data expiring or being purged from the
remote server, such as when a patient dies or is no longer active at the pharmacy. These
differences could also be caused by variations in reporting dates versus dispensing dates, or for
prescriptions that are marked as dispensed and then returned to the shelves when the patient does

not pick up the prescription. Some pharmacy management systems also assign an Rx number to

 

 

 
pharmacies selling directly to practitioners for office stock. These differences do not
significantly change the values or percentages listed above.

43. A review of Shaffer Pharmacy’s self-reported dispensing for prescriptions filled
between January 1, 2015 and February 20, 2020 indicates Shaffer Pharmacy filled 103,086
controlled substance prescriptions (including refills).

44. These 103,086 controlled substances prescriptions were shown to be dispensed

during the following time frames:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Year 2015
Total c/s with refills 22,219 100%
Total unique 19,738
Schedule II 15,395 69.29%
Schedule III 1,920 8.64%
Schedule [V 4.296 19.33%
Schedule V 608 2.73%
Year 2016
Total c/s with refills 21,417 100%
Total unique 19,459
Schedule II 14,996 70.02%
Schedule III 1,529 7.14%
Schedule IV 4,179 19.51%
Schedule V 712 3.32%
Year 2017
Total c/s with refills 20,010 100%
Total unique 17,844
Schedule II 13,977 69.85%
Schedule III 1.505 7.52%
Schedule IV 3,726 18.62%
Schedule V 801 4.00%

 

 

 

 

 

 
 

 

_Year 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

45, 21 C.F.R. § 1306.04(a) states that:

a prescription for a controlled substance to be effective must be issued for a
legitimate medical purpose by an individual practitioner acting in the usual course
of his professional practice. The responsibility for the proper prescribing and
dispensing of controlled substances is upon the prescribing practitioner, but a
corresponding responsibility rests with the pharmacist who fills the
prescription. An order purporting to be a prescription issued not in the usual
course of professional treatment or in legitimate and authorized research is not a
prescription within the meaning and intent of section 309 of the CSA (21 U.S.C. §
829) and the person knowingly filling such a purported prescription, as well as the
person issuing it, shall be subject to the penalties provided for violations of the

Total c/s with refills 19,440 100%
Total unique 17,279
Schedule II 13,482 69.35%
Schedule III 1,470 7.56%
Schedule IV 3,574 18.38%
Schedule V 914 4.70%
Year 2019
Total c/s with refills 18,432 100%
Total unique 16,241
Schedule II 12.431 67.44%
Schedule III 1,638 8.89%
Schedule IV A375 18.31%
Schedule V 988 5.36%
1/1/2020-2/20/2020
Total c/s with refills 1,568 100%
Total unique 1,072
Schedule II 668 42.60%
Schedule III 190 12.12%
Schedule IV 382 24.36%
Schedule V 121 7V.72%
“RED FLAGS”

provisions of law relating to controlled substances.

 

 

 
[emphasis added].

46. Red flags are behaviors that indicate a potential diversion of controlled substances
from licit to illicit channels, and that the prescriptions in question may not be issued in the usual
course of professional practice, or for a legitimate medical purpose. Often, a patient or
prescription may exhibit multiple red flags, indicating an even higher likelihood that the
controlled substances are being obtained without medical necessity.

47.  Ananalysis of Shaffer Pharmacy’s ordering and dispensing history has revealed a
number of unexplained red flags, indicating potential diversion. I divided these red flags into
four general categories: dispensing, purchasing, handling of the drug Subsys, and distributor
notifications.

“RED FLAGS: Dispensing”

48. It can be a red flag when patients receive combinations of controlled substances in
unusual patterns or “cocktails” that are associated with abuse and overdose, and for which there
is limited medical value. Certain combinations of controlled substances can have a synergistic
effect with one another, magnifying and potentiating the side effects, eliciting euphoria (a
“high”) that is greatly sought after by abusers of controlled substances, and greatly increasing the
chances of overdose and death. Dangerous or frequently abused cocktails include:

e The “Holy Trinity” — a colloquial term for the combination of an opiate, a
benzodiazepine, and carisoprodol (brand name Soma). This combination is one
of the most commonly seen cocktails of abuse. Opiates on their own have a
depressive effect on the central nervous system. Benzodiazepines also inhibit the
central nervous system. The addition of muscle relaxant carisoprodol is

especially dangerous, as the patient taking this combination may not be able to

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maintain a patent airway. In combination with respiratory depression resulting
from the opiate and benzodiazepine, there is a high risk of respiratory failure and
death. |

An opiate, a benzodiazepine, and a stimulant — A stimulant may be used to
counteract unwanted depressive side-effects for individuals abusing a
combination of opiates and benzodiazepines or taking higher quantities of these
substances than medically necessary. This is sometimes referred to as “taking an
upper with a downer.” According to a Boston Medical Center journal article
published in 2019, medical professionals report seeing a “fourth wave” in the
opioid epidemic, which involves the use of stimulants alongside opioids as a
popular cocktail choice. Combining stimulants with opiates and other depressants
can create a feeling of normalcy in patients who nevertheless can experience
tremors and delayed reaction times, leading to a higher risk of workplace and
road accidents. Additionally, the risk of overdose is increased, and can change
the physiological reaction to overdose antidotes such as naloxone, making
treatment for the overdose less effective.

An opiate, a benzodiazepine, a muscle relaxant, and a sedative — This
combination is relatively rare and very dangerous, as it involves four separate
categories of drugs that have depressive effects on the central nervous system and
autonomic responses. These drugs interact with each other synergistically and
may have unpredictable interactions that pharmacists acting in the usual course of

their professional practice would be concerned with.

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e An opiate and a benzodiazepine — A combination of opiate and benzodiazepine,
with or without other drugs, is associated a high risk of overdose hospitalization
and death. More than thirty percent of opiate overdoses (possibly around forty
percent, according to some studies) also involve the use of a benzodiazepine.
Studies have shown that the overdose death rate among patients receiving both
types of medications is ten times higher than among those only receiving opioids.
In 2016, the Center for Disease Control and Prevention (CDC) recommended
physicians avoid prescribing benzodiazepines concurrently with opioids
whenever possible, and the prescriptions for both types of medications now carry
FDA “black box” warnings highlighting the dangers of using these two drugs at
the same time.

e An opiate and buprenorphine — Buprenorphine is an opiate agonist specifically
prescribed to treat individuals with a clinically documented history of opiate
abuse and physiological and/or psychological dependence to opiates.
Buprenorphine products often contain naloxone, a partial opiate antagonist,
which is designed to counteract the “high” a potential abuser would seek if they
crushed and snorted or injected the buprenorphine. Prescribing an opiate to a
person with a documented history of opiate abuse and dependence, especially if
they are already taking the opiate buprenorphine for opiate dependence, should
be undertaken with caution due to the high risk for abuse and diversion.

49. Shaffer Pharmacy’s self-reported dispensing during the time frame of 1/1/2015 -
02/20/2020 showed eighteen patients received “Holy Trinity” prescriptions (from the same

prescriber, with overlapping fill dates) filled at Shaffer Pharmacy. Shaffer Pharmacy made over

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one hundred groups of “Holy Trinity” fills, not including refills, during this time frame. One
example is J.S., who received at least seven “Holy Trinity” fills (three to ten controlled substance
fills of sixty to ninety dosage units each) from Shaffer Pharmacy, dispensed between February
20, 2015 and July 14, 2015, again May 31, 2016 through June 29, 2016, again on March 17,
2017, and October 16, 2018 through February 15, 2019. Another set of examples is F.Sc. and
S.Sc., who received fifteen and three groups of “Holy Trinity” prescriptions respectively, filled
between January 15, 2015 and July 22, 2019. This pair of patients were found to be a married
couple via public records search. This is indicative of another red flag, which is a husband and
wife receiving the same unusual cocktail of controlled substances, since it would be unlikely that
two members of the same family have the same medical needs. Furthermore, while F.Sc.
received all his Trinity prescriptions (and all controlled substance prescriptions) in 2015 from a
single family practice prescriber, S.Sc. received controlled substance prescriptions from five
prescribers in 2015 alone, including an additional benzodiazepine (Clonazepam 2mg) from one
prescriber concurrent with her “Holy Trinity” fills from a separate prescriber. This is indicative
of “doctor shopping” behavior (see ff] 56-58 below). In late 2015, S.Sc. stopped receiving “Holy
Trinity” fills, and began receiving prescriptions for buprenorphine products, indicating opiate use
disorder (see section on buprenorphine below), after receiving an opiate fill written by yet
another prescriber. S.Sc. also received her first “Holy Trinity” fills paid for by commercial
insurance, but began to have a mix of payment types, indicating insurance would not approve of
these fills. In summary, there is a plethora of evidence that these “Holy Trinity” fills for S.Sc.
were not for a legitimate medical purpose in the usual course of professional practice and that

Shaffer Pharmacy ignored multiple red flags in filling $.Sc.’s controlled substance prescriptions.

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50. Shaffer Pharmacy’s self-reported dispensing during the time frame of 1/1/2015 -
02/20/2020 revealed eighteen patients who received an opiate, benzodiazepine, and stimulant
cocktail (written by the same prescriber, with overlapping fill dates), filled at Shaffer Pharmacy.
Shaffer Pharmacy made sixty-nine opiate, benzodiazepine, and stimulant group fills, not
including refills. One example is C.G. who received seventeen group fills prescribed between
10/20/2014 to 11/12/2019 and dispensed by Shaffer Pharmacy between 1/8/2015 to 12/2/2019.

51. Shaffer Pharmacy’s self-reporting dispensing during the time frame of 01/01/2015
- 02/20/2020 showed at least six patients received an opiate, benzodiazepine, muscle relaxant,
and sedative cocktail (written by the same prescriber, with overlapping fill dates), filled at
Shaffer Pharmacy. Shaffer Pharmacy made eleven group fills, not including refills. One example
was D.M., who received five opiate, benzodiazepine, muscle relaxant, and sedative group fills
prescribed between 6/9/2015 and 3/23/2018 and dispensed by Shaffer Pharmacy between
8/31/2015 and 3/24/2018. These prescriptions were all shown as written by the same family
practice physician (not a pain management or palliative care specialist) until 5/2/2017, and then
by a different prescriber from 5/18/2017 until 3/23/2018. Additionally, according to publicly
available information, D.M. died 3/23/2018, the same day his last prescription (Alprazolam 1
mg, 60 count) in the final opiate, benzodiazepine, muscle relaxant, and sedative group was
prescribed, and one day before Shaffer Pharmacy reported filling that prescription. D.M.’s
obituary states that he “passed away unexpectedly.”

52. Shaffer Pharmacy’s self-reported dispensing during the time frame of 01/01/2015
- 02/20/2020 revealed at least 580 patients received an opiate and benzodiazepine
(opiate/benzodiazepine) combination (with overlapping fill dates), filled at Shaffer Pharmacy.

Shaffer Pharmacy made approximately 3,100 opiate/benzodiazepine combination fills during this

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time frame. Examples include R.T., who received nineteen opiate/benzodiazepine combination
fills from Shaffer Pharmacy written between 1/22/2015 and 2/5/2020, by four successive
prescribers. Other examples include D.Sk. and G.Sk., a husband and wife who received two and
twenty-four respective opiate/benzodiazepine combination fills and B.SI. and C.S]. (another
husband.and wife pair), who received fifty-one and forty-six respective opiate/benzodiazepine
combination fills.

53. Shaffer Pharmacy’s self-reported dispensing during the time frame of 01/01/2015
- 02/20/2020 revealed at least fifty-five patients received opiate and buprenorphine
(opiate/buprenorphine) combination fills, filled at Shaffer Pharmacy. Shaffer Pharmacy made
over 130 opiate/buprenorphine combination fills, during this time frame. An example is J.Tu.
who received twelve opiate/buprenorphine combination fills from Shaffer Pharmacy, filled
between 3/14/2017 and 8/8/2018. These opiate/buprenorphine combinations were written by
three different prescribers, the latter of two alternating, and on at least one occasion, the two
prescribers wrote the opiate and buprenorphine prescriptions on the same day. Another example
is R.Si. who received eleven opiate/buprenorphine combination fills from Shaffer Pharmacy,
including sixty- and ninety-day supplies of the buprenorphine product Belbuca, a fifty-six-day
supply of the opioid oxycodone-acetaminophen 10/325, and ninety- and one-hundred-and-
twenty-day supplies of the opioid Nucynta.

54. It can be ared flag when multiple family members living in the same household
receive multiple opioid prescriptions. While single, short term opioid therapy may be prescribed
to multiple family members for acute conditions such as dental work or injury, multiple opioid
prescriptions for multiple members of a household are associated with a higher risk of patient

diversion, drug seeking behavior, and formation of opioid dependence disorder. During the time

20
frame of 01/01/2015 - 02/20/2020, Shaffer dispensed multiple opioid prescriptions to over 100
sets of patients with the same surname, living at the same address. Over thirty sets of patients
met the above criteria and received at least one hundred combined opioid prescriptions filled at
Shaffer, with each member receiving at least five opioid prescriptions. For example, M.F. and
L.F. received 104 opioid prescriptions written between March 2015 and June 2019, and ninety
opioid prescriptions between June 2015 and June 2019 respectively.
55. It may be a red flag when a pharmacy allows early refills of controlled substance
prescription medications because it indicates that the patient is taking a higher dose of the control
than prescribed, or that it is being sold or stolen (i.e., diverted). It is also an indication of drug-
seeking behavior and a possible sign of abuse and dependence. Shaffer Pharmacy’s self-reported
dispensing during the time frame of 01/01/2015 - 02/20/2020 showed eighteen patients received
early refills from a single prescriber, where the controlled substance dispensed was identical in
name and strength, and there were at least eight days left of the previously dispensed drugs. An
example is P.St., who received ninety-day supplies of zolpidem tartrate Smg, on 8/5/2016,
10/11/2016 and 12/16/2016 (270 dosage units in 133 days), and then again on 9/6/2018,
10/22/2018 and 12/28/2018 (270 dosage units in 113 days). Another example i is R.F., who
received thirty-days supplies of Dilaudid 4mg on 4/17/2015, 4/27/2015, 5/18/2015, and 6/4/2015
(360 dosage units in 48 days), as well as a second opiate, oxycodone HCL 30mg, on 4/27/2015,
5/18/2015, and 6/4/2015 (810 dosage units in 38 days). This pattern of escalation, with the
addition of a second opiate, is also a red flag.
56. It may be a red flag when a patient receives multiple opiate prescriptions from
more than one prescriber in a short period of time. This behavior is known as “doctor shopping,”

and is a red flag because it shows the patient is seeking out controlled substances when there is

21
no legitimate medical need. It may indicate that a patient is deceiving prescribers by obtaining
multiple prescriptions without their knowledge, or that the prescriber has noticed signs of drug
abuse or diversion and becomes no longer willing to write controlled substance prescriptions for
that patient.

57. Shaffer Pharmacy’s self-reported dispensing during the time frame of 01/01/2015
- 02/20/2020 showed over 590 patients received at least one prescription for an opiate controlled
substance from Shaffer Pharmacy within fifteen days of Shaffer Pharmacy dispensing an opiate
controlled substance prescription for them written by a different prescriber. An example is A.C.,
who received oxycodone-acetaminophen on 9/18/2018, written by one prescriber, hydrocodone-
acetaminophen on 9/25/2018, written by a second prescriber, and tramadol-acetaminophen on
10/9/2018, written by a third prescriber. Shaffer Pharmacy also dispensed many prescriptions
such as these to patient A.C. on numerous other occasions, including various opiates on
9/11/2019, 9/16/2019, 9/23/2019 and 9/25/2019, written respectively by four additional
prescribers.

58. Shaffer Pharmacy’s self-reported dispensing during the time frame of 01/01/2015
- 02/20/2020 showed over 360 patients received three or more prescriptions from three or more
prescribers within three months. An example is D.L., who received both Oxycodone and
Methadone from three prescribers, written between 2/16/2016 and 4/20/2016. Another example
is D.Mc., who received hydrocodone ~acetaminophen written on 6/16/2016, 8/31/2016, 9/1/2016
and 9/13/2016 by three different prescribers, as well as on other occasions, from these
prescribers and others.

59. It may be ared flag when a patient goes to a pharmacy to fill more than one

prescription and uses cash to pay for one prescription, but not another. Sometimes there are

22
legitimate reasons for doing so, i.¢., cash discount or coupons. However, it also may indicate that
the patient is attempting to draw attention away from this prescription by not having it billed to
their insurance, or that their insurer will not pay for the prescription due to perceived lack of
medical necessity or legitimate medical purpose. Shaffer Pharmacy’s self-reported dispensing
during the time frame of 01/01/2015 - 02/20/2020 showed approximately 160 patients used cash
to pay for one prescription but not another at Shaffer Pharmacy. These patients had partial cash
fills for controlled substances at least 618 times. An example is D.S., who on twenty-eight
occasions between 7/ 19/2017 and 2/3/2020, received an opiate paid for by commercial insurance
or Worker’s Compensation, while at the same visit receiving a benzodiazepine (Diazepam) paid
for out-of-pocket. This combination of controlled substances taken together is also a red flag, as
described in the dangerous cocktail paragraphs above.

60. It may be a red flag when there is a great distance between a patient’s home
address and the pharmacy where controlled substance medications are dispensed for them, when
there are closer options available. According to a survey by the National Association of Chain
Drug Stores, nine out of ten patients live within five miles of a community pharmacy (in
metropolitan areas, the average is less than two miles). According to a different survey, the most
important criteria patients cited for choosing a pharmacy was convenience/location, followed
distantly by customer service. Rx30 records for controlled substance prescriptions filled between
January 1, 2016 and April 1, 2020 revealed that Shaffer Pharmacy filled prescriptions for
patients with home addresses in approximately 232 cities in 14 states. Almost 1.5% of these
prescriptions were dispensed to patients with listed addresses more than 100 miles away, and 8%
of the prescriptions were for patients with addresses 30 or more miles away. Examples include

fifty-one prescriptions filled at Shaffer Pharmacy for patients in Schenectady, New York (569

23
miles from Shaffer Pharmacy), thirty-one prescriptions filled for patients in West Sacramento,
California (2,264 miles away), and seventeen prescriptions for patients in Hot Springs Village,
Arkansas (860 miles away).

61. The following table shows patient cities at least 30 miles from Shaffer Pharmacy,

for which they filled at least one hundred prescriptions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total # of
Prescriptions Approximate
filled at miles from .
Patient City State Shaffer Shaffer
DELTA OH 796 30.6
CRESTLINE OH 326 106
WAUSEON OH 227 |. 40.6
MILAN MI 205 38.3
DEFIANCE OH 175 57.6
KENTON OH 174 73.4
FINDLAY OH 158 45
FOSTORIA OH 157 42.2
MONTPELIER OH 155 63.5
TIFFIN OH 151 53.1
LIMA OH 150 TS
FREMONT OH 144 38
BROOKLYN MI 142 62.5
BELLEVILLE MI 125 49.3
MARION OH 123 95.1
CYGNET OH 115 31
LAKEVIEW OH 112 101.8
CENTER LINE MI 101 73.6

 

 

62. It may be ared flag when there is a great distance between the location of a
prescribing practitioner, and the pharmacy where the controlled substance prescription is
dispensed, when there are closer options available. Shaffer Pharmacy’s Rx30 records for
prescriptions filled between January 1, 2016 and April 1, 2020 revealed that Shaffer Pharmacy
filled prescriptions for practitioners located in approximately 106 cities in 14 states. Over 1% of

the total number of controlled substance prescriptions dispensed were for prescribers over 100

24
miles from Shaffer Pharmacy, and over 6% were for prescribers over 50 miles away. Examples
include 164 prescriptions filled for prescribers in Dublin, Ohio (122.3 miles away), 120
prescriptions filled for a prescriber in South Bend, Indiana (155.5 miles away), and 22
prescriptions for a prescriber in Marco Island, Florida (1,290.6 miles away). In this last case, the
patient also paid for their prescriptions with a mix of commercial insurance and cash, which is a
red flag described in paragraph 59.

63. It can be ared flag when patients receive prescriptions that amount to high daily
MME (morphine milligram equivalent). MMEs are a way of assessing how high the dose of
opioids a patient is taking in a way that is standardized across different drugs, formulations,
strengths, and dosage forms. MME calculators may be found for free online, including a mobile
app from the CDC available on Google Play and the Apple Store. These calculators take the
drug, the dosage, and the number of doses per day, and give a score that can be compared across
drug types and strengths. For instance, a patient receiving Oxycontin 20mg, 60 count, 30 day
supply (i.e., 2 doses per day), has a MME of 60. This is the same calculated MME/day as
fentanyl transdermal patch, 25 mcg/hr, one patch every three days. On the other hand, a patient
receiving 20mg hydrocodone, instead of Oxycontin, with the same sixty count, thirty day supply,
has a MME of 40. The MME score for patients receiving more than one opioid is the sum of
each prescription’s MME.

64. According to the CDC Guideline for Prescribing Opioids for Chronic Pain, which
is also found as a “quick link” on their free MME calculator, “[c]linicians should use caution
when prescribing opioids at any dosage, should carefully reassess evidence of individual benefits

and risks when considering increasing dosage to >50 morphine milligram equivalents

25
(MME)/day, and should avoid increasing dosage to >90 MME/day or carefully justify a decision
to titrate dosage to >90 MME/day.”

65. Areview of Shaffer Pharmacy’s self-reported dispensing during the time frame of
01/01/2015 - 02/20/2020 revealed sixty-five patients with an average of 500 MME per day or
greater from prescriptions filled at Shaffer Pharmacy. Eighteen patients had MMEs of 1,000 or
greater. One example is R.J., who received sixty-six prescriptions filled at Shaffer Pharmacy
written between January and August, 2015, with an average MME per day of 1,391.3.

66. A review of Shaffer Pharmacy’s self-reported dispensing during the time frame of
01/01/2015 - 02/20/2020 revealed that in over fifty cases, patients received a rapid escalation of
MMEs - three prescription fills, within three months, where the MME doubled from the previous
fill. A typical example is D.Bu., who was dispensed 61 MMEs/day on 8/31/2015, 180
MMEs/day on 9/ 14/2015, and 431 MMEs/day on 10/13/2015.

67. There were also other patients whose MMEs/day were made higher by early fills.
Early fills allow for a patient to have access to additional narcotics before they finish their
previous prescription. In such a case the daily MME is actually the sum of both prescriptions’
individual MME. One such example is R.A. who was dispensed 60 MMEs/day on 10/29/2015
(oxycodone 10mg, 120 dosage units for thirty days), and received another prescription just six
days later on 11/4/2015 (Oxycontin 30mg, 90 dosage units for thirty days), The MME/day for
this prescription alone was 135 MMEs/day, but on the three weeks that overlapped, R.A. had
available MME of 195 MMEs/day. On 11/30/2015, twenty-six days later, she received another
fill of oxycodone 10mg, 120 dosage units and oxycodone ER 40mg 90 dosage units which put

her at 240 MMEs/day (plus 135 for a total of 375 during the days of overlap). These sudden

26
increases and early availability of high MMEs greatly increases the risk of overdose, as well the
possibility that the patient is diverting/selling their medication.
“RED FLAGS: Purchasing”

68. It can be ared flag when a pharmacy purchases greater than average amounts of
controlled substances without any reason for why the amounts are so high, such as proximity to
major medical center, or having a specialized business model (such as a mail order or long-term
care pharmacy). Being an “outlier” in purchases of high amounts of controlled substances is an
indication of possible diversion.

69. | A comparison was made of Shaffer Pharmacy’s purchasing history to purchasing
averages for other pharmacies for the period of January 1, 2014 to September 30, 2019. Shaffer
Pharmacy’s purchases of the schedule II opioid controlled substance oxycodone, in dosage units,

are compared to pharmacy averages in the following charts:

27
900,000 -
800,000 -
700,000 -
600,000 -
500,000 -
400,000 -
300,000 ;
200,000 -
100,000 ;

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Yearly Comparisons of Oxycodone

Purchases by Pharmacies
Jan 2014 to Dec 2016

 

 

 

 

 

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2014 ] 2015 2016

 

@ Shaffer Pharmacy, DEA Number A$8550243 oLucas County Average
OZIP Code 43623 Average oCity of Toledo Average
| OState of Ohio Average U.S. Average

 

 

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DOSAGE UNITS PURCHASED
Yearly Comparisons of Oxycodone

Purchases by Pharmacies
Jan 2017 to Sept 2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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2017 2018 Jan—Sept 2019
@ Shatter Pharmacy, DEA Number A$8550243 ~~ Lucas County Average
OZIP Code 43623 Average oCity of Toledo Average
O State of Ohio Average U.S. Average
*Targets purchases excluded from averages
70. The charts above shows that Shaffer Pharmacy is an extreme outlier for purchases

of oxycodone compared to the nationwide, citywide, statewide, Zip code, and countywide
averages. In the majority of comparisons, Shaffer Pharmacy purchased five to ten times the
average amount of oxycodone for a pharmacy.

#1; A comparison was made of the oxycodone purchasing history of Shaffer
Pharmacy to other pharmacies in Lucas County, Ohio, where Shaffer Pharmacy is located. In

2014, Shaffer Pharmacy was the second highest purchaser of oxycodone in Lucas County, with

NOCAGE UNITE PURCHMASEH
671,200 dosage units, compared with 565,400 to the third highest purchaser, and 435,300 to the
fourth highest. The highest purchaser of oxycodone in Lucas County in 2014 was Heartland
Healthcare Services (Heartland), with 1,768,800 dosage units. Heartland is a closed door, long-
term care pharmacy, which according to its website, fills “nearly 5 million prescriptions per
year” and “services 20,000 beds in ten states.” As a long-term care pharmacy, Heartland services
an elderly population in nursing homes, post-surgical and injury rehabilitation centers, and
palliative care/hospice patients. Due to the large patient population, comprised of medically
fragile and/or medically needy patients, there is an explanation for why Heartland would be by
far the top purchaser of oxycodone and other opioid controlled substances in its area.

72. Inthe years after 2014, the gap between Heartland’s reported purchases of
oxycodone and Shaffer Pharmacy’s reported purchases shrank, and for the reporting period of
January — September 2019, Shaffer Pharmacy overtook Heartland as the top purchaser of
oxycodone, with 567,500 dosage units for Shaffer Pharmacy versus 542,200 for Heartland. In
contrast, the third and fourth highest pharmacies in Lucas County for January — September 2019
purchased 250,600 and 224,800 dosage units respectively.

73. | Acomparison was made of Shaffer Pharmacy’s purchasing history to purchasing
averages for other pharmacies for the period of January 1, 2014 to September 30, 2019. Shaffer
Pharmacy’s purchases of the schedule II opioid controlled substance oxymorphone, in dosage

units, are compared to pharmacy averages in the following charts:

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50,000 -
45,000 ;
40,000 3
35,000 -
30,000 ;
25,000 +
20,000 -
15,000 5
10,000 -
5,000 5

Yearly Comparisons of Oxymorphone

Purchases by Pharmacies
Jan 2014 to Dec 2016

 

 

 

 

 

 

 

 

 

 

 

 

 

2014 2015

 

@ Shaffer Pharmacy, DEA Number A$8550243 OLucas County Average
OZIP Code 43623 Average oCity of Toledo Average
o State of Ohio Average oU.S. Average

 

 

 

*Targets purchases excluded from averages

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DOSAGE UNITS PURCHASED
Yearly Comparisons of Oxymorphone

Purchases by Pharmacies
Jan 2017 to Sept 2019

 

 

 

 

 

 

 

 

      

 

 

 

 

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@ Shaffer Pharmacy, DEA Number A$8550243 OLucas County Average
OZIP Code 43623 Average oCity of Toledo Average
O State of Ohio Average oU.S. Average

 

 

 

*Targets purchases excluded from averages

74. The previous charts show that Shaffer Pharmacy is an extreme outlier for
purchases of oxymorphone compared to the nationwide, citywide, statewide, Zip code, and
countywide averages. In the majority of comparisons, Shaffer Pharmacy purchased ten times or
greater the average amount of oxymorphone for a pharmacy.

TS. A comparison was made of the oxymorphone purchasing history of Shaffer
Pharmacy to other pharmacies in Lucas County, Ohio, where Shaffer Pharmacy is located.

Shaffer Pharmacy was the top purchaser of oxymorphone in Lucas County for the entire period

32

DOSAGE UNITS PURCHASED
of January 2014 through September 2019. Shaffer Pharmacy purchased at least three times the
amount of oxymorphone per year as the next highest purchaser of oxymorphone, up to more than
five times the amount of oxymorphone as the next highest pharmacy some years.

76. | Acomparison was made of Shaffer Pharmacy’s purchasing history to purchasing
averages for other pharmacies for the period of January 1, 2014 to September 30, 2019. Shaffer
Pharmacy’s purchases of the schedule III opioid controlled substance buprenorphine, in dosage

units, are compared to pharmacy averages in the following charts:

Yearly Comparisons of Buprenorphine

Purchases by Pharmacies
Jan 2014 to Dec 2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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“Targets purchases excluded from averages Source: ARCOS

 

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Yearly Comparisons of Buprenorphine

Purchases by Pharmacies
Jan 2017 to Sept 2019

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

   

 

 

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2017 2018 Jan—Sept 2019
@ Shaffer Pharmacy, DEA Number A$8550243 OLucas County Average
OZIP Code 43623 Average aCity of Toledo Average
O State of Ohio Average OU.S. Average

 

 

 

“Targets purchases excluded from averages

77. The previous charts show that Shaffer Pharmacy is an outlier for purchases of
buprenorphine compared to the nationwide, citywide, statewide, Zip code, and countywide
averages. In the majority of comparisons, Shaffer Pharmacy purchased three or greater the
average amount of buprenorphine for a pharmacy.

78. A comparison was made of Shaffer Pharmacy’s purchasing history to purchasing

averages for other pharmacies for the period of January 1, 2014 to September 30, 2019. Shaffer

DOSAGE UNITS PURCHASED
Pharmacy’s purchases of the schedule II opioid controlled substance fentanyl (not including

Subsys), in dosage units, are compared to pharmacy averages in the following charts:

Yearly Comparisons of Fentanyl (minus Subsys)

12,000

10,000

8,000

6,000

4,000

2,000

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Purchases by Pharmacies
Jan 2014 to Dec 2016

 

 

 

 

 

 

 

 

 

 

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@ Shaffer Pharmacy, DEA Number A$8550243 OLucas County Average
OZIP Code 43623 Average oCity of Toledo Average
O State of Ohio Average oU.S. Average

 

 

“Targets purchases excluded from averages

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DOSAGE UNITS PURCHASED
Yearly Comparisons of Fentanyl (minus Subsys)
Purchases by Pharmacies
Jan 2017 to Sept 2019

 

10,000 -

 

9,000

 

8,000

 

 

7,000

 

 

6,000

 

 

5,000

 

 

4,000

 

 

3,000

 

 

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1,000

 

 

 

 

2017 2018 Jan-Sept 2019
@ Shaffer Pharmacy, DEA Number A$8550243  gLucas County Average
OoZIP Code 43623 Average oCity of Toledo Average
O State of Ohio Average oU.S. Average

 

 

 

“Targets purchases excluded from averages
Orug (aigecurnen

79. The previous charts show that Shaffer Pharmacy is an outlier for purchases of
fentanyl (excluding Subsys) compared to the nationwide, citywide, statewide, Zip code, and
countywide averages. In all comparisons, Shaffer Pharmacy purchased twenty-five times or
greater the average amount of fentanyl for a pharmacy.

80. A comparison was made of the fentany] (excluding Subsys) purchasing history of
Shaffer Pharmacy to other pharmacies in Lucas County, Ohio, where Shaffer Pharmacy is

located. Shaffer Pharmacy was the second highest purchaser of fentanyl in Lucas County from

 

 

DOSAGE UNITS PURCHASED
January 2014 through September 2019, surpassed only by Heartland Healthcare Services.
Shaffer Pharmacy purchased around twice the amount of fentanyl as the third highest purchaser
of fentanyl in Lucas County each year from 2014 through September 2019.

“RED FLAGS: Subsys”

81.  Subsys is a brand name for a sublingual spray formulation of the potent opioid
fentanyl. It is fifty to one-hundred times more powerful than morphine. Subsys has only one
approved indication for use: the management of breakthrough cancer pain in patients with
malignancies who are already receiving, and tolerant to, opioid therapy for underlying cancer
pain. Subsys should only be prescribed by oncologists and pain specialists knowledgeable in the
management of cancer pain.

82.  Insys Therapeutics, Inc., (“Insys”) founded in 1990, is the pharmaceutical
company that produces and markets Subsys. In 2019, Insys and several former executives were
convicted of various crimes, including conspiracy and bribery in the marketing of its Subsys
product. The conduct underlying the conviction against Insys and its executives centered on
unlawful payments to prescribers as “speaker fees” to drive up the prescribing of Subsys. Insys
also made false statements to insurance providers, falsely stating that patients had diagnoses
warranting Subsys treatment, when, in fact, Insys knew that individuals did not have such
diagnoses.

83.  Insys founder, John Kapoor, was among those found guilty for crimes related to
this scheme, and was sentenced to five and a half years in prison.

84.  Insys agreed to pay $225 million to the federal government to resolve civil claims

and criminal charges arising from the scheme.

37
85. The Insys scheme was vast and spread across the entire country. A number of
practitioners across multiple jurisdictions have pled guilty to, or been found guilty of, accepting
bribes and kickbacks from Insys for prescribing Subsys.

86. In September 2020, Dr. Jimmy Henry, MD (DEA #FH2232178) was indicted by a
federal grand jury in the Southern District of Ohio on charges of health care fraud conspiracy.
The indictment read, in part:

[f]rom in and around September 2015 until at least around January 2019, Jimmy

HENRY ... caused false a fraudulent claims to be submitted for reimbursement

to Medicare and the Ohio Medicaid Program for prescription medications that

were not medically necessary, not eligible for reimbursement, induced by illegal

kickbacks, and issued outside the usual course of professional practice and

without a legitimate medical purpose.

87. Shaffer Pharmacy filled 283 prescriptions for Subsys written by Dr. Jimmy Henry
between 2015 and 2016.

88. More than 8,000 deaths have been reported to the FDA’s Adverse Events
Reporting System for patients who were taking Subsys. Among these reports are many patient
deaths where the “reason for use” includes no cancer diagnosis. “Radiculopathy” and
“Osteoarthritis” as well as “Arthralgia,” with the statement “Off label use; Death,”
“Fibromyalgia,” even “Back Pain” all appear, with no indication of cancer sequelae.

89. Insys’ legal troubles were the subject of national television and print news stories.
Therefore, it is a potential red flag when a pharmacy continues to purchase and dispense high
volumes of Subsys, in light of the rampant inappropriate/illegal prescribing of the drug.

90. | A comparison was made of Shaffer Pharmacy’s purchasing history to purchasing

averages for all other pharmacies purchasing Subsys, for the period of January 1, 2014 to

38
September 30, 2019. Shaffer Pharmacy’s purchases of the schedule II opioid controlled

substance Subsys, in grams, are compared to pharmacy averages in the following charts:

Yearly Comparisons of Subsys
Purchases by Pharmacies
Jan 2014 to Dec 2016

 

 

 

 

 

 

 

 

 

 

@ Shaffer Pharmacy, Number AS8550243° gLucas County Average
OZIP Code 43623 Average oCity of Toledo Average
O State of Ohio Average GU.S. Average

 

 

*Targets purchases excluded from averages Source: ARCOS

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GRAMS PURCHASED
Yearly Comparisons of Subsys
Purchases by Pharmacies
Jan 2017 to Sept 2019

 

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“Targets purchases excluded from averages

91. The previous charts show that Shaffer Pharmacy is an outlier for purchases of

Subsys compared to the nationwide, citywide, statewide, Zip code, and countywide averages.
The average amount of Subsys purchased, in grams, did not exceed 2.05 in the US, and 2.22 in
Ohio, meanwhile, Shaffer Pharmacy purchased over 66 grams in one year.

92. In 2014, Shaffer Pharmacy purchased more than three times the amount of Subsys

in grams as the second highest purchaser of Subsys in Lucas County, Ohio. In 2015, that divide

40

GRAMS PURCHASED
widened, with Shaffer Pharmacy purchasing 55.89 grams of Subsys, while the next highest
purchasers received 3.12, 2.62 and 1.23 grams of Subsys respectively.

93. In 2018, Shaffer Pharmacy became the only pharmacy purchasing Subsys in its
Zip code (43623), and in 2019, Shaffer Pharmacy was the only pharmacy purchasing Subsys in
Lucas County, Ohio.

“RED FLAGS: Distributor Notifications”

94, It can be ared flag when controlled substance distributors refuse or cease to do
business with a pharmacy due to concerns about their ordering patterns. On January 8, 2020,
Amerisource Bergen Drug Company, one of the three pharmaceutical suppliers for Shaffer
Pharmacy, sent a letter to the DEA titled “In Re: Termination of Sales of Controlled Substances
~ to Shaffer Pharmacy.” This letter, stated in part,

Following a review of the controlled substance ordering activity of Shaffer

Pharmacy, DEA registration AS8550243, several red flags were noted, as follows:

° 43% controlled substances dispensed by total dosage unit.

° 53% of controlled substances dispensed are Oxycodone

As a result, ABDC immediately terminated controlled substance sales to

pharmacy on November 21, 2019.

A true and correct copy of the Amerisource Bergen letter to the DEA is attached as Exhibit D to
this declaration.

95. _It can be arred flag when controlled substance distributors file Suspicious Order
reports to the DEA. One of Shaffer Pharmacy’s controlled substance suppliers, Cardinal Health
(DEA Registration RO0153609), has filed fifteen suspicious order reports to the DEA for
transactions dated between 08/20/2020 and 10/21/2020. These purchases by Shaffer Pharmacy

were attempted for one to five bottle of oxycodone and hydrocodone products, in varying

strengths, and reported for order frequency or exceeding volume thresholds. A true and correct

4]
copy of the Suspicious Order Transaction System (SORS II) log for Shaffer Pharmacy is

attached as Exhibit E to this declaration.

Dated: January 4, 2021

By: Wwide who
Meredith Carter
Diversion Investigator

United States Drug Enforcement
Administration
 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACETAMINOPHEN-CODEINE cs-ill Tylenol With Codeine, Tylenol 3 21C.F.R. §1308.13(e)(1)(i) 3-4
ALPRAZOLAM cS-IV Xanax, Xanax XR 21 C.F.R. §1308.14(c)(2) 3-16
AMPHETAMINE SULFATE (SALTS) cs-ll Adderall, Adderall XR 21 C-F.R. §1308.12(d)(1) 3-31
BUPRENORPHINE-NALOXONE CS-lll Suboxone 21 C.F.R. §1308.13(e)(2)(i) 3-65
BUPRENORPHINE CSIll Belbuca, Butrans 21 C.F.R. §1308.13(e)(2)(i) 3-64
CARISOPRODOL cs-IV Soma 21C.F.R. §1308.14(c)(7) 3-81
CHLORDIAZEPOXIDE CS-IV Librium 21 C-F.R. §1308.14(c)(10) 3-90
CLONAZEPAM CS-IV Klonopin 21 C.F.R. §1308.14(c)(12) 3-105
DEXMETHYLPHENIDATE Cll FocalinXR 21 C.F.R. §1308.12(d)(4) 3-127
DEXTROAMPHETAMINE SULFATE CS-ll Dexedrine, Dexedrine ER 21 C.F.R. §1308.12(d)(1) 3-128
DIAZEPAM cs-IV Diastat Acudial, Valium 21 C.F.R. §1308.14(c)(17) 3-134
DRONABINOL cs-ill Marinol 21 C.F.R. §1308.13(g)(1) 3-151
ESZOPICLONE CS-IV Lunesta 21C.F.R. §1308.14(c)(58) 3-170
FENTANYL cS-ll Duragesic (Patch), Subsys (Spray), Actiq (injection) 21 C.F.R. §1308.12(c)(9) 3-185-86
HYDROCODONE BITARTRATE cs-ll Zohydro ER 21 C.F.R. §1308.12(b)(1)(vi) 3-225

 

 

 

 

 

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HYDROCODONE BITARTRATE-HOMATROPINE CS-ll Tussigon (syrup), Hycodan (syrup) 21 C.F.R. §1308.12(b)(1)(vi) 3-219
HYDROCODONE BITARTRATE-IBUPROFEN cS-ll Reprexain 21C.F.R. §1308.12(b)(1)(vi) 3-226, 6-214
HYDROMORPHONE CS-il Exalgo, Dilaudid 21 C.F.R. §1308.12(b)(1)(vii) 3-229, 6-221
LISDEXAMFETAMINE DIMESYLATE cS-ll Vyvanse 21 C.F.R. §1308.12(d)(5) 3-268-69
LORAZEPAM cs-IV Ativan 21 C.F.R. §1308.14(c)(32) 3-271
METHADONE HYDROCHLORIDE Cs-ll Methadose, Dolophine 21 C.F.R. §1308.12(c)(15) 3-286-87
METHYLPHENIDATE CS-Il Daytrana 21 C.F.R. §1308.12(d)(4) 3-290
MODAFINIL CS-IV Provigil 21 C.F.R. §1308.14(f)(7) 3-304
MORPHINE SULFATE CS-II Morphine 21 C.F.R. §1308.12(b)(1)(ix) 3-306-08
OXYCODONE G-ll Xtampza 21 C.F.R. §1308,12(b)(1)(xiv) 3-336
OXYCODONE HYDROCHLORIDE cs-ll Roxicodone, Oxycontin 21: C.F.R. §1308.12(b)(1)(xiv) 3-336-37
OXYMORPHONE HYDROCHLORIDE cs-ll Opana 21 C.F.R. §1308,12(b)(1)(xv) 6-317
PHENTERMINE HYDROCHLORIDE cs-IV Adipex-P 21C.F.R. §1308.14(F)(9) 3-348-49
TAPENTADOL HYDROCHLORIDE cs-ll Nucynta 21 C.F.R. §1308.12(c)(28) 3-412, 6-385
TRAMADOL HYDROCHLORIDE cS-IV Conzip 21C.F.R, §1308,14(b)(3) 3-430
TRIAZOLAM. cs-IV Halcion 21 C.F.R. §1308,14(c)(55) 3-435

 

 

 

 

 

 

 
 

 

ZOLPIDEM TARTRATE

 

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21 C.F.R. §1308.14(c}(57)

 

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eLicense Ohio
Professional Licensure

Ohio

 

License Look Up

12/29/2020 3:48 PM

SHAFFER PHARMACY, INC.

Status

Sub-Status

Board

License Type

License Number
License Issue Date
License Expiration Date
License Effective Date
Street Address

City

State

Zipcode

Country

Board Action

Supervised By:

Supervisor Name Supervisor License

Current date & time: 12/29/2020 3:48 PM

Active

Board of Pharmacy

Terminal - Pharmacy - Category 3
020157850

01/26/1979

03/31/2021

04/01/2019

3900 SUNFOREST CT SUITE 124
TOLEDO

OH

43623

United States

No

Status Start Date End Date
Active
DECL.
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Page | of 2
Disclaimer: The Joint Commission and NCQA consider on-line status information as fulfilling the primary source verification requirement for
verification of licensure in compliance with their respective credentialing standards.

Page 2 of 2
Master Detail Page | of

Record Status | MasterInformation | History Information | Images | Investigative Information |

Master Information for DEA Number: AS8550243
STATUS: ACTIVE PENDING
CURRENTLY UNDER INVESTIGATION

Expiration Date; 02/28/2021 Office Name: CLEVELAND (05) ARCOS Status: NONREPORTABLE
Last Renewed: 01/06/2018 Web Tracking Id: 7105123 CMEA Status: NO
Cert. Last Issued: 01/06/2018 E-Signature: THOMAS J. TADSEN DTL Status: NO
Registration Date: Cert. Print: NO QUOTA Eligible: NO
Date of Record: 01/01/1990 Carfentanil: NO Marijuna Grower: NO
NAODIS No:

SECTION1&2 UPDATE

Business Activity: RETAIL PHARMACY
Business or Facility Name: SHAFFER PHARMACY

Additional Company Info.: Additional Company Info.:
Registrant Address: 3900 SUNFOREST CT MailTo Address: 3900 SUNFOREST CT
TOLEDO, OH 43623 TOLEDO, OH 43623
Phone No.: (419) 473-0891 EXT.: Fax No.: (419) 473-0899
Contact Name: THOMAS TADSEN Contact Email: SHAFFERPHARMACY@GMAIL.COM
Contact Cell: (419) 297-4416

SSN: 294463219 Tax ID: XX-XXXXXXX
NPI:

SECTIONS &4 UPDATE

1 2 2N 3 3N 4 5 Li
Drug Schedules: L 4) i Iv i Mi oi Order Forms Requested: ___
RestrictediLimited: Len | |
License Issuing State: OH State License No.: 020157850 Exp. Date: 03/31/2018
CS License No.: Exp. Date:

SECTIONS UPDATE
There are no liabilities for this registrant.

SECTION 6 &7
Payment Type: CREDIT CARD Payment Amount: 731 Payment Status: PAID
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https://csa.diversion.sbu.dea.doj.gov:808 |/csa/csa.csa_master_detail?p_master_id=1096277 12/29/2020
 

AmerisourceBergen Corporation
Corporate Security & Regulatory Affairs

1300 Morris Drive
\\ Chesterbrook, PA 19087-5594

www.amerisourcebergen.com
AmerisourceBergen

David May

Vice President, CSRA

Phone 910-986-5061

Fax 877-479-8650
dmay@AmernisourceBergen.com

January 8, 2020

Keith Martin

Special Agent in Charge

Detriot Division

Drug Enforcement Administration
431 Howard Street

Detroit, Ml 48226

~ In Re: Termination of Sales of Controlled Siibstances to Shaffer Pharmacy: ~—~~—
Dear SAC Martin,

AmerisourceBergen Drug Corporation (ABDC) is committed to meeting ail legal and
regulatory requirements imposed upon it as a wholesale distributor and constantly strives to
protect the integrity of our country's pharmaceutical supply chain. As such, ABDC follows a
procedure of due diligence and continuous oversight of controlled substances sales to its
registrant customers. Through the use of advanced analytics and other means, ABDC will
sometimes discover purchasing activities of interest that are not able to be resolved and or
adequately explained by the customer. Under such circumstances, ABDC will terminate the
customer's ability to order controlled substances from ABDC and add the customer to
ABDC’s Do Not Ship List.

Following a review of the controlled substance ordering activity of Shaffer Pharmacy, DEA
registration AS8550243, several red flags were noted, as follows:

e 43% controlled substances dispensed by total dosage unit.

e 53% of controlled substances dispensed are Oxycodone.
As a result, ABDC immediately terminated controlled substance sales to pharmacy on
November 21" , 2019.

Please let me know if you or any members of your staff have any questions regarding this
action by contacting me directly at (910) 986-5061 or dmay@AmerisourceBergen.com.

Sincerely,

David May

Vice President

Corporate Security & Regulatory Affairs DECL.

AmerisourceBergen Corporation EXHIBIT

D

 
DEPARTMENT OF JUSTICE
DRUG ENFORCEMENT ADMINISTRATION, OFFICE OF DIVERSION CONTROL
SUSPICIOUS ORDER TRANSACTION QUERY RESULTS
RUN DATE: 23-OCT-20

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53746-0110-05 HYDROCODONE BIT /ACETAMINOPHEN TABS. 10MG/325MG.

53746-0109-05 HYDROCODONE BIT. /ACETAMINOPHEN TABS. SMG/325MG

(00406-0522-05 OXYCODONE HCLYACETAMINOPHEN 7.5MG/325MG TABLET; 500 TAB BOTTLE
(00406-0523-01 OXYCODONE HCL/ACETAMINOPHEN 10MG/325MG TABLET; 100 TAB BOTTLE
10702-0008-01 OXYCODONE HCL 15MG USP TABLETS:

10702-0056-01 OXYCODONE HCI 10MG TABLETS USP

10702-0057-01 OXYCODONE HCI 20 MG TABLETS USP

59011-0440-10 OXYCONTIN OMG OXYCODONE HCL CR TABLET

10702-0009-01 OXYCODONE HCL 30MG USP TABLETS.

$3746-0109-05 HYDROCODONE BIT JACETAMINOPHEN TASS. SMG/325MG

10702-0009-01 OXYCODONE HCL 30MG USP TABLETS.

83386-0432-01 OXYCODONE HYDROCHLORIDE SMG TABLET; 100 TAB BOTTLE
47781-0196-05 OXYCODONE HCL/ACETA SMG/325MG TABLET; 500 TABLETS

47781-0229-D5 OXYCODONE HCL/ACETAMINOPHEN 7.SMG/325MG TABLET; $00 TAS BOTTLE
47781-0230-05 OXYCODONE HCL/ACETAMINOPHEN 10MG/325MG TABLET; S00 TAB BOTTLE

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ITEM ORDERED AT END OF ACCRUAL PERIOD
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